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       Of Attorneys for Plaintiff



                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION

OLIVIA TYLER-BENNETT,                                                        No. 3:16-cv-02300-SI

                Plaintiff,                            UNOPPOSED MOTION TO WITHDRAW
                                                                         AS COUNSEL
       v.

UNITED STATES OF AMERICA,

                Defendant.


       In accordance with LR 83-11, I hereby move to withdraw as counsel for plaintiff in the above-
entitled matter. Plaintiff remains represented by Judy Snyder. This motion is not opposed.

       Respectfully submitted this 6th day of May, 2019.

                                                 PAULSON COLETTI
                                                 TRIAL ATTORNEYS, PC
                                           By:     /s/ Jane Paulson
                                                 Jane Paulson, OSB No. 911804
                                                 jane@paulsoncoletti.com




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of May, 2019, I served the foregoing UNOPPOSED

MOTION TO WITHDRAW AS COUNSEL on the following parties at the following addresses:

 Susan Luse                                       Judy Danelle Snyder
 United States Attorney’s Office District of      Law Offices of Judy Snyder
 Oregon                                           1000 SW Broadway, Suite 2400
 1000 SW 3rd Ave., Suite 600                      Portland, OR 97205
 Portland, OR 97204

by electronic means through the Court’s Case Management/Electronic Case File system.

       I further certify that on the 6th day of May, 2019, I served the foregoing UNOPPOSED

MOTION TO WITHDRAW AS COUNSEL on the following party at the following address:

       Olivia Tyler-Bennett
       5605 S Pacific Hwy
       Phoenix, OR 97535

by mailing to her a true and correct copy thereof, placed in a sealed envelope addressed to her at

the address set forth above, and deposited in the U.S. Post Office at Portland, Oregon on said day

with postage prepaid.

                                                    PAULSON COLETTI
                                                    TRIAL ATTORNEYS, PC
                                                     /s/ Jane Paulson
                                                    Jane Paulson, OSB No. 911804
                                                    jane@paulsoncoletti.com




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